873 F.2d 1438Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Solomon FULLER, Petitioner-Appellant,v.Terrie CHAVIS, Warden;  Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 88-6750.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 9, 1989.Decided:  April 3, 1989.
    
      Solomon Fuller, appellant pro se.
      John J. Curran, Jr., Richard B. Rosenblatt (Office of the Attorney General of Maryland), for appellees.
      Before CHAPMAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Solomon Fuller appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Fuller v. Chavis, C/A No. 88-873-JFM (D.Md. July 21, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    